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AO 440(Rev.06/12) Summons in a Civil Action


                                    United States District Court T                                                      ii >y/
                                                             for the


                                                                                                         JAN I 2 2023
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                           Plaintiff(s)
                               V.                                      Civil Action No.            2L| CV U'L

   V\\tVia e V                                $
                          Defendant(s)


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

         |A\       Q \
                    blev,\
         ^^av^Uco.,C^                                         cc\l          ^o<i-- 'i7(o-52i7
          A lawsuit has been fi led against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:



         9o                         U

          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must fi le your answer or motion with the court.



                                                                          CLERK OF COURT



 Dale;
                                                                                     Signature ofClerk or Deputy Clerk
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                                                   PROOF OF SERVICE

                (This section should not befded wUh the court unless required by Fed. R. Civ. P. 4(I))
         This summons for(name ofindividual and tiile. ifany)
was received by me on (date)

         D I personally served the summons on the individual at(place)
                                                                         on (date)                              ;or



         □ I left the summons at the individual's residence or usual place of abode with (name)
                                                         , a person of suitable age and discretion who resides there.
         on (date)                         , and mailed a copy to the individual's last known address; or
                                                                                                                          who is
         □ I served the summons on (name of individual)
          designated by law to accept service of process on behalf of (name oforganization)
                                                                          on (date)                             ; or


                                                                                                                              ;or
          □ I returned the summons unexecuted because

          O Other (specify):




                                            for travel and $                   for services, for a total of $          0.00
          My fees are $


           I declare under penalty of perjury that this information is true.


 Date;
                                                                                       Server s signature




                                                                                      Printed name and title




                                                                                         Server's address



  Additional information regarding attcmplod scivicc, etc.
